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14
                              IN THE UNITED STATES DISTRICT COURT
15                                 FOR THE DISTRICT OF IDAHO
                                       SOUTHERN DIVISION
16

17                                                  CIVIL ACTION NO.
     EQUAL EMPLOYMENT OPPORTUNITY
18   COMMISSION,
                                                    COMPLAINT
19
                                      Plaintiff,
20
                               v.
21
     JIVARO PROFESSIONAL HEADHUNTERS,
22   LLC
23
                                     Defendant.
24

25

26




     EEOC v. Jivaro Professional Headhunters, LLC       EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                   909 FIRST AVE., SUITE 400
     COMPLAINT                                                    SEATTLE, WASHINGTON 98104
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                                                                      FAX (206) 220-6911
                                                                      TDD (206) 220-6882
                                          NATURE OF THE ACTION
1

2            This is an action under Title I and Title V of the Americans with Disabilities Act, as

3    amended by the ADA Amendments Act of 2008, 42 U.S.C. § 12101 et. seq., to correct unlawful

4    retaliation and to provide appropriate relief to Charging Party Felicia Bauer who was adversely
5
     affected by such practices. The Equal Employment Opportunity Commission (“EEOC” or
6
     “Commission”) alleges that Jivaro Professional Headhunters, LLC (“Defendant”) retaliated
7
     against Ms. Bauer for filing a charge of disability discrimination with the EEOC in violation of
8
     the ADA.
9

10                                      JURISDICTION AND VENUE

11           1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,
12   1343 and 1345. This action is authorized and instituted pursuant to Section 107(a) of the
13
     Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12117(a), which incorporates by
14
     reference Sections 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
15
     2000e-5(f)(1) and (3) and 2000e-6 (“Title VII”), and pursuant to Section 102 of the Civil Rights
16

17
     Act of 1991, 42 U.S.C. § 1981a.

18            2.     The employment practices alleged to be unlawful were committed within the

19   jurisdiction of the United States District Court for the District of Idaho.
20
                                                     PARTIES
21
              3.     Plaintiff, the Equal Employment Opportunity Commission, is the agency of the
22
     United States of America charged with the administration, interpretation and enforcement of
23
     Title I of the ADA and is expressly authorized to bring this action by Section 107(a) of the ADA,
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25   42 U.S.C. § 12117(a), which incorporates by reference Sections 706(f)(1) and (3) of Title VII, 42

26   U.S.C. 2000e-5(f)(1).



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              4.     At all relevant times, Defendant has continuously been doing business in the State
1

2    of Idaho and has continuously had at least 15 employees.

3             5.     At all relevant times, Defendant has continuously been an employer engaged in an

4    industry affecting commerce under Section 101(5) of the ADA, 42 U.S.C. § 12111(5), and
5
     Section 101(7) of the ADA, 42 U.S.C. § 12111(7), which incorporates by reference Sections
6
     701(g) and (h) of Title VII, 42 U.S.C. §§ 2000e(g) and (h).
7
              6.     At all relevant times, Defendant has been a covered entity under Section 101(2) of
8
     the ADA, 42 U.S.C. § 12111(2).
9

10                                   ADMINISTRATIVE PROCEDURES

11            7.     More than thirty (30) days prior to the institution of this lawsuit, Charging Party
12   Felicia Bauer (formerly known as Felicia Heywood) filed a charge with the EEOC alleging
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     violation of Title I of the ADA by Defendant.
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              8.     On April 10, 2020, the Commission issued to Defendant a Letter of Determination
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     in regard to Ms. Bauer’s charge finding reasonable cause to believe that Title I of the ADA was
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17
     violated and inviting Defendant to join with the Commission in informal methods of conciliation

18   to endeavor to eliminate the discriminatory practices and provide appropriate relief.

19            9.     The Commission engaged in communications with Defendant to provide
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     Defendant the opportunity to remedy the discriminatory practices described in the Letter of
21
     Determination.
22
              10.    The Commission was unable to secure from Defendant a conciliation agreement
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     acceptable to the Commission.
24

25            11.    On September 4, 2020, the Commission issued to Defendant a Notice of Failure

26   of Conciliation.



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              12.    All conditions precedent to the institution of this lawsuit have been fulfilled.
1

2                                         STATEMENT OF CLAIMS

3             13.    Since at least April 10, 2019, Defendant has engaged in unlawful employment

4    practices in violation of Section 503(a) of Title V of the ADA, 42 U.S.C. §12203(a). Defendant
5
     discriminated against Ms. Bauer, a qualified individual with a disability, when it retaliated
6
     against her for engaging in protected activity by providing a negative job reference to a potential
7
     employer and by filing a lawsuit against Ms. Bauer for filing a charge with EEOC .
8
              14.    In or about April 2018, Ms. Bauer began working for Defendant as a Recruiter at
9

10   its Hailey, Idaho location.

11           15.     On October 16, 2018, Defendant discharged Ms. Bauer.
12           16.     After Defendant terminated Ms. Bauer’s employment, Ms. Bauer filed a charge of
13
     discrimination with EEOC on February 11, 2019 alleging that she was discharged unlawfully on
14
     the basis of disability.
15
             17.     On or about April 10, 2019, Jivaro provided a negative job reference to a potential
16

17
     employer of Ms. Bauer by providing false and misleading information about Ms. Bauer’s

18   employment history at Jivaro and the circumstances leading to her discharge.

19           18.     On November 12, 2019, Jivaro filed a lawsuit in Idaho State court against Ms.
20
     Bauer. Defendant’s lawsuit alleged that Ms. Bauer had defamed Defendant and breached her
21
     employment contract with Defendant when Ms. Bauer filed an EEOC charge instead of
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     complaining to Defendant directly regarding the alleged discriminatory discharge.
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             19.     On December 12, 2019, Ms. Bauer filed the charge of discrimination referenced
24

25   in paragraph 7 above alleging retaliation by Defendant.

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             20.     The effect of the practices complained of in paragraphs 14-18 above has been to
1

2    deprive Ms. Bauer of equal employment opportunities and otherwise adversely affect her status

3    as an employee for participating in activity protected by Title V of the ADA, to wit, filing a

4    charge of discrimination with the Equal Employment Opportunity Commission.
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             21.     The unlawful employment practices complained of in paragraphs 14-18 above
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     were and are intentional.
7
                                             PRAYER FOR RELIEF
8
             Wherefore, the Commission respectfully requests that this Court:
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10           A.      Grant a permanent injunction enjoining Defendant, its officers, agents, successors,

11   assigns, and all persons in active concert or participation with it, from engaging in retaliation
12   against employees for engaging in a protected activity under Title V of the ADA.
13
             B.      Order Defendant to institute and carry out policies, practices, and programs which
14
     provide equal employment opportunities for qualified individuals with disabilities, and which
15
     eradicate the effects of its past and present unlawful employment practices.
16

17
             C.      Order Defendant to make whole Ms. Bauer by providing appropriate back pay

18   with interest, in amounts to be determined at trial, and other affirmative relief necessary to

19   eradicate the effects of its unlawful employment practices.
20
             D.      Order Defendant to make whole Ms. Bauer by providing compensation for past
21
     pecuniary losses resulting from the unlawful employment practices described in paragraphs 14-
22
     18 above, including past out-of-pocket losses, in amounts to be determined at trial.
23
             E.      Grant such further relief as the Court deems necessary and proper in the public
24

25   interest.

26           H.      Award the Commission its costs of this action.



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     DATED this 30th day of September 2020.
1

2    EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

3    BY: /s/ Roberta L. Steele

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     Regional Attorney
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                                     CERTIFICATE OF SERVICE
1
            I hereby certify that on this date, I electronically filed the foregoing with the Clerk
2
     of the Court using the CM/ECF system.
3

4

5
                    DATED this 30th day of September, 2020
6
                                                       /s/ Rebecca Eaton
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